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                                       Stephen Noble (Apr 19, 2022 10:53 PDT)


4/19/2022




            4/13/2022
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